Case 2:20-cv-06298-JWH-E Document 87 Filed 02/11/21 Page 1 of 2 Page ID #:2000



                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES -
                                   GENERAL

  Case No.     CV 20-06298-JWH (Ex)                                Date    February 11, 2021
  Title   Enttech Media Group LLC v. Okularity, Inc., et al.


  Present: The Honorable      JOHN W. HOLCOMB, UNITED STATES DISTRICT JUDGE
              Irene Vazquez                                        Miriam Baird
               Deputy Clerk                                       Court Reporter
    Attorney(s) Present for Plaintiff(s):               Attorney(s) Present for Defendant(s):
              Robert Tauler                                       Joanna Ardalan
            Gil Nathan Peles                                     David W. Quinto
                                                                Peter E. Perkowski



Proceedings:      VIDEO HEARING RE: ORAL ARGUMENT ON ORDER TO
                  SHOW CAUSE [ECF No. 54]; DEFENDANTS BACKGRID
                  USA, INC., SPLASH NEWS AND PICTURE AGENCY, LLC,
                  AND XPOSURE PHOTO AGENCY, INC.’S MOTION FOR
                  SANCTIONS [ECF No. 39]; DEFENDANTS’ MOTION TO
                  DISMISS [ECF Nos. 65 & 66]; and SCHEDULING
                  CONFERENCE

       Counsel state their appearances. The Court confers with counsel and hears
oral argument. The Court takes the OSC and the motions under submission. The
Court further confers with counsel regarding the case schedule. For the reasons
stated on the record, the Court hereby ORDERS as follows:

     1.    The parties are DIRECTED to begin non-deposition discovery,
commencing today, pertaining to the issues raised in the Counterclaim and the
Answer thereto.

      2.    The parties are further DIRECTED to exchange Initial Disclosures
pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure, pertaining to the

                                                                                         Time: 2:24
                                                                             Initials of Preparer: iv
Case 2:20-cv-06298-JWH-E Document 87 Filed 02/11/21 Page 2 of 2 Page ID #:2001



issues raised in the Counterclaim and the Answer thereto, no later than 12:00 noon
on February 18, 2021.

      IT IS SO ORDERED.




                                                                              Time: 2:24
                                                                  Initials of Preparer: iv
